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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                                          MIAMI DIVISION


                     CIVIL ACTION NO. 09-21640-CIV-MARTINEZ-BROWN


  ____________________________________
                                      )
  NATIVITA ST. LOUIS JULIEN and       )
  GLORIA PIERRILIEN,                  )
                                      )
       individually and on behalf of all
                                      )
       other persons similarly situated,
                                      )
              Plaintiffs,             )
                                      )
  vs.                                 )
                                      )
  LJS FARMING SERVICES CORP. ,        )
  ROGER ST. FLEUR and                 )
  LUCIENNE JOSEPH ST. FLEUR,          )
                                      )
              Defendants.             )
  ____________________________________)



                                PLAINTIFFS’ MOTION FOR
                             DECLARATION OF A CLASS ACTION


         In accordance with the provisions of Rule 23 of the Federal Rules of Civil Procedure and

  Local Rule 23.1, the Plaintiffs hereby move this Court for a determination that this action may be

  maintained as a class action under subsection (b)(3) with respect to the claims set forth in Count I

  of the Complaint in this cause. In support of this motion, the Plaintiffs state as follows:

         1. This is a suit challenging, inter alia, the failure of the Defendants to comply with the
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  recordkeeping, wage statement and wage payment provisions of the Migrant and Seasonal

  Agricultural Worker Protection Act, 29 U.S.C. §§ 1801, et seq. (“AWPA”) during the 2007-08

  bean harvest in south Miami-Dade County.

         2. The Plaintiffs seek to represent a class consisting of:

                 All migrant and seasonal agricultural workers, as defined by the
                 AWPA, who were employed as members of the Defendants’
                 agricultural labor crew at any time during the 2007-08 Miami-Dade
                 County bean harvest, extending from approximately October 1,
                 2007 through May 31, 2008.


         3. Although the exact size of the alleged class is presently unknown, the members of the

  class are so numerous as to make joinder impracticable. From the Defendants’ own payroll

  records, the Plaintiffs have identified 57 members of the class. See Exhibit A. In addition, the

  limited size of the class members' claims, their geographic dispersion, their relative indigency,

  their lack of proficiency in the English language, and their relative unfamiliarity with the

  American legal system makes joinder of all members infeasible.

         4. Common questions of fact exist with regard to the members of the class. The common

  questions of fact include the following:

                 a.    Whether the Defendant made, kept and preserved payroll records as

         required by the AWPA and its implementing regulations with respect to the labor

         of the Plaintiffs and the other class members;

                 b.   Whether the Defendant provided to the Plaintiffs and the other

         members of the class wage statements on each payday as required by the AWPA

         and its implementing regulations;



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                 c.   Whether the Defendant failed to pay the Plaintiffs and other class

         members their wages promptly when due.

         5. Common questions of law exist with regard to the members of the class. The

  common questions of law include the following:

                 a. Whether the Defendant made, kept and preserved payroll records as

         required by the AWPA, including among other things, the actual hours each of the

         class members was employed, including time the workers spent at the jobsite

         waiting for the morning dew to dry on the beans before beginning picking;

                 b.     Whether the Defendant provided the class members with accurate

         wage statements containing the data mandated by the AWPA, including the

         number of hours each class member was employed during the pay period;

                 c.    Whether the Defendant failed to pay the class members their wages

         promptly when due by failing to compensate them for all hours worked, including

         the time spent waiting at the Defendant’s direction for the dew to dry on the beans

         before commencing harvesting;

                 d.   Whether the Defendant’s violations of the AWPA were “intentional,”

         within the meaning of that statute, 29 U.S.C. § 1854(c).

         6.     The claims of the Plaintiffs are typical of those of the alleged class, i.e., seeking

  declaratory relief, injunctive relief, and damages with respect to the Defendant’s failure to make,

  keep and preserve payroll records, issue wage statements and pay wages when due with respect

  to labor performed during the 2007-08 bean harvest season.

         7.   The named Plaintiffs will fairly and adequately represent the interests of the class.


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  The Plaintiffs’ interests are in no way antagonistic to those of the other class members. All class

  members will benefit from the relief sought. The Plaintiffs’ counsel is experienced in class

  action litigation in the federal courts, as well as claims under the AWPA, and will vigorously

  prosecute this action on behalf of the class.

         8.     In similar cases under both the AWPA and its predecessor statute, the Farm Labor

  Contractor Registration Act, courts have frequently certified classes pursuant to Rule 23(b)(3),

  including classes involving the type of violations complained of in this action.

         9.      The common questions of law and fact presented in this case predominate over any

  individual questions, as the Plaintiffs and the other class members all seek to remedy common

  legal grievances, including the Defendants’ failure to properly pay them their wages.

         10.     A class action is superior to other methods of adjudicating this controversy. Due

  to the class members’ lack of proficiency in English, their indigent status, and the relatively small

  amount of individual recovery, maintenance of individual actions would be unmanageable and

  almost impossible. Furthermore, there has been no other litigation concerning this controversy

  commenced by the class members, and it is desirable to have this litigation maintained in a forum

  in which the Defendants and the records relevant to the class members’ employment are located.

         This motion is further supported by the accompanying memorandum of law, which is

  incorporated herein by reference.




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                                              Respectfully submitted,



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                                              Attorney for Plaintiffs




                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on November 9, 2009, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
  is being served this day on all counsel of record or pro se parties identified on the attached
  Service List in the manner specified, either via transmission of Notices of Electronic Filing
  generated by CM/ECF or in some other authorized to receive electronically Notices of Electronic
  Filing.

                                                      /s/ Gregory S. Schell
                                                      Gregory S. Schell




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                                      SERVICE LIST

           Nativita St. Louis Julien, et al. v. LJS Farmiing Services Corp., et al.
                           Case No. 09-21640-Civ-Martinez/Brown

                                United States District Court
                                Southern District of Florida


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